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                         Exhibit 2
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Looker, Samantha K.

Subject:                           FW: Apple Inc. (our ref# APP86849-F)- MUSI- PRIVILEGED



       From: PII            , Sony Music PII           @sonymusic.com>
       Sent: Monday, September 11, 2023 10:01 AM
       To: AppStoreNotices@apple.com
       Cc: Elkin, Michael <MElkin@winston.com>; PII          , Sony Music PII         @sonymusic.com>;
       PII              , Sony Music PII              @sonymusic.com>
       Subject: RE: Apple Inc. (our ref# APP86849-F)- MUSI- PRIVILEGED

       Dear Apple App Store Team,

       On July 31, 2023 the Apple App Disputes alias (AppStoreNotices@apple.com) distributed a Notice of
       Complaint, copied below, which states that “On 7/31/2023, we received a notice from Sony Music
       Entertainment ("Complainant") that Complainant believes the app listed below infringes its intellectual
       property rights”, and which referred to an entirely separate notice from Sony Music Entertainment
       (“SME”) from over three years ago.

       SME did not send the 7/31/2023 notice. It is our understanding that the 7/31/2023 notice was delivered
       to Apple by the International Federation of the Phonographic Industry (“IFPI”). Therefore, we ask that
       you deal directly with the IFPI, who we understand will be sending correspondence regarding your
       inquiry. Sony Music Entertainment reserves all rights.

       Respectfully,

       PII
       Vice President, Business & Legal Affairs
       Global Digital Business | Sony Music Entertainment
       25 Madison Avenue
       New York, NY 10010-8601
       t: PII
       f: PII
       e: PII




       From: ASN <AppStoreNotices@apple.com<mailto:AppStoreNotices@apple.com>>
       Sent: Monday, July 31, 2023 10:47 AM
       To: apple-ios-contact@feelthemusi.com<mailto:apple-ios-contact@feelthemusi.com> <apple-ios-
       contact@feelthemusi.com<mailto:apple-ios-contact@feelthemusi.com>>; Elkin, Michael
       <MElkin@winston.com<mailto:MElkin@winston.com>>; herstein@pitblado.com<mailto:herstein@pitbl
       ado.com> <herstein@pitblado.com<mailto:herstein@pitblado.com>>
       Cc: PII              @sonymusic.com<mailto:PII
       PII               @sonymusic.com<mailto:PII                             >>;app.enforcement@ifpi.
       org<mailto:app.enforcement@ifpi.org>
       <app.enforcement@ifpi.org<mailto:app.enforcement@ifpi.org>>
       Subject: Apple Inc. (our ref# APP86849-F) Notice of Complaint


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Dear Sir or Madam,

**Please include APP86849-F in the subject line of any future correspondence on this matter.**

On 7/31/2023, we received a notice from Sony Music Entertainment ("Complainant") that Complainant
believes the app listed below infringes its intellectual property rights. In particular, Complainant believes
you are infringing its copyright. Please see their comments below.

F. Developer: Musi Inc.
Provider: Musi Inc.
App Title: Musi - Simple Music Streaming
Apple ID: 591560124

Comments: The Application is communicating to the public and/or making available to the public and/or
reproducing and/or enabling others to reproduce and/or distributing sound recording(s) and/or
audiovisual work(s) or other audiovisual fixation(s), rights in which are owned or controlled by one or
more IFPI Members (the “IFPI Member Content”).

The Application functions, at a basic level, by allowing users to stream, without relevant authorisation,
copyright-protected sound recordings that have been derived from YouTube and/or other streaming
sites. The sound recordings that can be downloaded using the Application include IFPI Member Content.
-

You can reach Complainant through PII
(email: PII             @sonymusic.com<mailto:PII                                  or PII
        (email:app.enforcement@ifpi.org<mailto:app.enforcement@ifpi.org>), copied on this email.
Please exchange correspondence directly with Complainant.

We look forward to receiving written assurance that your application does not infringe Complainant's
rights, or that the parties are taking steps to promptly resolve the matter. Please keep us apprised of
your progress.

Please note that during the course of this matter:

1. Correspondence to Apple must include the reference number noted above in the subject line and
copy the other party. All correspondence sent to Apple may be shared with the other party.

2. Written assurance of rights may include confirmation that your application does not infringe
Complainant's rights, an express authorization from Complainant, or other evidence acceptable to
Apple, and should include documentation wherever possible.

3. Should you choose to remove your application (for example, while you make any necessary changes),
visit App Store Connect at https://appstoreconnect.apple.com/<https://appstoreconnect.apple.com>
and access your app in the Manage Your Application module.

• Access your app in the "My Apps" module
• Click on the "Pricing and Availability" tab from the App Summary Page and select "Edit" by
"Availability"
• Select and deselect "All" territories to uncheck all App Store territories
• Click on the "Done" button

4. Developers with a history of allegations of repeat infringement, or those who misrepresent facts to

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Apple and/or the Complainant are at risk of termination from the Developer Program.

5. Failure to respond to the Complainant or to take steps toward resolving a dispute may lead to
removal of the app(s) at issue as in violation of the App Store Review Guidelines and/or the iOS
Developer Program License Agreement. Please keep Apple apprised of your progress.

Thank you for your immediate attention.

Sincerely,

Allie

 Apple Legal | Apple | One Apple Park Way Cupertino, CA 95014 | mailto:AppStoreNotices@apple.com
The information in this e-mail and any attachment(s) is intended solely for the personal and confidential
use of the designated recipients. This message may be an attorney-client communication protected by
privilege. If you are not the intended recipient, you may not review, use, copy, forward, or otherwise
disseminate this message. Please notify us of the transmission error by reply e-mail and delete all copies
of the message and any attachment(s) from your systems. The use of the sender's name in this message
is not intended as an electronic signature under any applicable law. Thank you.



The contents of this message may be privileged and confidential. If this message has been received in error, please delete it without reading
it. Your receipt of this message is not intended to waive any applicable privilege. Please do not disseminate this message without the
permission of the author. Any tax advice contained in this email was not intended to be used, and cannot be used, by you (or any other
taxpayer) to avoid penalties under applicable tax laws and regulations.


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